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                                         UNITED STATES DISTRICT COURT
                                           DISTRICT OF RHODE ISLAND

           JOHN DOE                                       :
                                                          :
                   V.                                     :               Case No. 18-106-JJM-LDA
                                                          :
           JOHNSON & WALES UNIVERSITY                     :

                          DEFENDANT’S REPLY MEMORANDUM IN RESPONSE TO
                          PLAINTIFF’S OBJECTION TO DEFENDANT’S MOTION TO
                           DISMISS COUNTS III-VII OF PLAINTIFF’S COMPLAINT

                   Defendant Johnson & Wales University (“JWU”) submits its Reply Memorandum in

           Response to Plaintiff’s Objection to Defendant’s Motion to Dismiss Counts III, IV, V, VI, and VII

           (injunctive relief portion) of Plaintiff’s Complaint.

           I.      Standard of Review

                   Regarding the Rule 12(b)(6) analysis, Plaintiff cites to the Second Circuit’s decision in Doe

           v. Columbia University, 831 F.3d 46 (2d Cir. 2016), and requests that the Court apply a particularly

           deferential standard of review to test the sufficiency of his Title IX claim. However, the Second

           Circuit’s analysis has not been universally accepted. In Doe v. Miami University, 882 F.3d 579

           (6th Cir. 2018), the Sixth Circuit recently stated that, in Columbia University, the Second Circuit

           analogized Title IX claims to Title VII-employment discrimination cases and concluded that a

           complaint under Title IX “is sufficient with respect to the element of discriminatory intent . . . if it

           pleads specific facts that support a minimal plausible inference of such discrimination.” Id. at 588

           (quoting Columbia Univ., 831 F.3d at 56). The Sixth Circuit explained that the Second Circuit’s

           “minimal plausible inference” standard “reduces the facts needed to be pleaded under Iqbal.” Id.

           The Sixth Circuit held: “Whatever the merits of the Second Circuit’s decision in Columbia

           University, to the extent that the decision reduces the pleading standard in Title IX claims, it is

           contrary to our binding precedent.” Id. at 589.


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                   The First Circuit has not addressed the Rule 12(b)(6) standard to test the sufficiency of a

           pleading asserting a Title IX challenge to a disciplinary result. Regardless of whether the Court

           applies the established Iqbal standard or the Second Circuit’s seemingly more relaxed standard,

           Plaintiff has not pled a plausible Title IX claim of intentional gender discrimination for the reasons

           stated in JWU’s initial memorandum and supplemented below.

           II.     Argument

                   A.     While Plaintiff’s Opposition States for the First Time that He Seeks to Litigate
                          a Title IX Erroneous Outcome Theory, His Complaint Fails to Pled the
                          Required Showing of Intentional Gender Discrimination to Support Such a
                          Claim.

                   Not every adverse student conduct determination justifies the respondent suing a school

           under Title IX. As JWU argues in its initial brief, courts have scrutinized complaints closely to

           determine whether the pleading’s factual, not boilerplate, allegations actually and sufficiently

           plead a plausible Title IX claim of intentional gender discrimination. While his Complaint is silent

           about the precise nature of his Title IX claim, Plaintiff now identifies for the Court and JWU that

           he wishes to litigate under an erroneous outcome theory. See Doe v. Brown Univ., 166 F. Supp.

           3d 177, 185 (D.R.I. 2016) (C.A. No. 15-144-S) (analyzing the elements of and distinctions between

           Title IX erroneous outcome and selective enforcement theories in challenges of sexual misconduct

           disciplinary proceedings).

                   Solely for purposes of a Rule 12(b)(6) analysis, JWU acknowledges that Plaintiff has

           sufficiently pled the first required element of an erroneous outcome claim – “particular facts to

           cast some articulable doubt on the accuracy of the outcome of the disciplinary proceeding.” Id.

           (citing Yusuf v. Vassar Coll., 35 F. 3d 709, 715 (2d Cir. 1994)). Plaintiff’s Complaint, however,

           falls far short on the second element requiring a showing of causation – “particular circumstances




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           suggesting that gender bias was a motivating factor behind the erroneous finding.” Id. (citing

           Yusuf).

                   Plaintiff’s opposition states four points seeking to avoid the dismissal of his Title IX claim:

           (1) “the training procedures of the JWU Title IX officials and panelists are designed to be

           inherently biased against males” (Pl. Mem. at 3 & 6); (2) “[u]pon information and belief, nearly

           all JWU students punished through the [Conduct Review Process] for sexual assault and or sexual

           harassment have been males” (id. at 6-7); (3) “JWU took these actions against the male Doe ‘in a

           time of nearly viral hysteria regarding campus sexual assaults;’” (id. at 7); and (4) the Department

           of Education’s Office for Civil Rights (“OCR”) revoked on September 22, 2017 its previously

           issued April 4, 2011 Dear Colleague Letter (“DCL”) (id. at 8). JWU addresses each point below.

                           1.      Plaintiff’s Single Allegation About JWU’s Training

                   Plaintiff’s Complaint pleads no specific factual allegations describing how JWU’s training

           of its hearing panelists purportedly resulted in any intentional gender discrimination in his

           disciplinary case.    Paragraph 53 of the Complaint merely offers pure guesswork: “Upon

           information and belief, it appears that JWU actually provides training which is inherently biased

           and teaches a belief that a female complainant almost always tells the truth. It is a training regime

           which is inherently unbalanced against the accused such as John Doe.”

                   Plaintiff correctly notes that, Doe v. Brown University, the Court allowed the plaintiff’s

           erroneous outcome claim to survive dismissal based upon, in part, allegations pled “upon

           information and belief” and noted that most of the underlying information is in the hands of the

           university, not the student. 166 F. Supp. 3d at 187-90. In contrast to the pleading here, the Brown

           University plaintiff pled sufficient factual details of intentional gender discrimination in the totality

           of his complaint to buttress his contentions made “upon information and belief,” as opposed to the



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           unsupported, generalized, and stand-alone assertion that Plaintiff makes here about JWU’s

           training. Id.

                   Plaintiff’s Complaint also differs significantly from the pleading at issue in Doe v. The

           Trustees of the University of Pennsylvania, 270 F. Supp. 3d 799, 816-817, 823 (E.D. Pa. 2017),

           where the court allowed an erroneous outcome claim premised in part upon a university’s training

           materials to survive a Rule 12(b)(6) dismissal. In that case, the pleading stated specific factual

           allegations describing the actual training, which Plaintiff has not pled here.

                           2.     Plaintiff’s Allegation that All Respondents Are Male

                   As noted on page 9-10 of JWU’s initial memorandum, courts have rejected at the Rule

           12(b)(6) stage allegations similar to Plaintiff’s claim that “nearly all JWU students punished

           through the [Conduct Review Process] for sexual assault and/or sexual harassment have been

           males.” Compl. at ¶ 39. Plaintiff has not offered a single judicial ruling challenging or limiting

           the authority provided by JWU. Further, his contention, at best, would arguably apply only to a

           selective enforcement claim, not an erroneous outcome claim.

                           3.     The “Viral Hysteria”

                   While referencing generally to a purported “viral hysteria” regarding sexual misconduct

           issues on campuses, Plaintiff fails to explain whether this purported national atmosphere may have

           reached JWU or how it may have had any impact on his disciplinary case. Plaintiff ignores that

           courts have rejected erroneous outcome claims similarly based upon an alleged general anti-male

           bias purportedly affected by public and/or governmental pressure. See, e.g., Doe v. Cummins, 662

           F. App’x 437, 452 (6th Cir. 2016) (rejecting plaintiff’s claim that university adopted male-biased

           sexual investigation procedures to appease the federal government); Doe v. Univ. of Colo., 2017

           WL 2311209, at * 11 (D. Colo. May 26, 2017) (“pressure from the [] government to investigate



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           sexual assault allegations more aggressively – either general pressure exerted by the Dear

           Colleague Letter or specific pressure exerted by an investigation directed at the University, or both

           – says nothing about the University’s alleged desire to find men responsible because they are

           men.”). Regardless of the existence and extent of this purported “viral hysteria,” Plaintiff has not

           pled any alleged specific actions or statements attributed to any JWU officials that support any

           plausible inference of intentional gender discrimination in his disciplinary case.

                          4.      OCR’s Withdrawal of the 2011 DCL

                   In Doe v. Colgate University, 2017 WL 4990629 (N.D.N.Y. Oct. 31, 2017), the Northern

           District of New York rejected the same argument that Plaintiff asserts regarding OCR’s recent

           withdrawal of the 2011 DCL:

                   Plaintiff directs that Court’s attention to OCR’s recently-issued Dear Colleague
                   Letter, Letter from Candice Jackson, Assistant Sec’y for Civil Rights, U.S. Dep’t
                   of Educ. to Title IX Coordinators (Sept. 22, 2017) (“2017 DCL”). The 2017 DCL
                   criticizes the 2011 DCL for recommending that schools establish sexual
                   misconduct procedures that reduce protections for the accused and “are in no way
                   required by Title IX law or regulation.” 2017 DCL at 1. The 2017 DCL does not
                   impact the Court’s analysis of Plaintiff’s Title IX claim. Plaintiff appears to rely
                   on the 2017 DCL to argue that Colgate violated Title IX by conforming its
                   [policies] to the 2011 DCL’s less stringent procedural requirements . . . . However,
                   the 2017 DCL’s different interpretation of Title IX simply demonstrates that OCR
                   can “from time to time change its interpretation” of a statute. Chevron, U.S.A., Inc.
                   v. Nat. Resources Def. Council, 467 U.S. 837, 863 (1984). It does not mean that
                   Colgate’s compliance with the 2011 DCL, the governing interpretation of Title IX
                   during the period relevant to this action, somehow violated Title IX.

           Id. at *13. The same result should happen in this case.

                   B.     Plaintiff’s Arguments Fail to Save his Quasi-Contractual and Tort Claims.
                          1.      Because a Contract Exists, Plaintiff’s Promissory Estoppel Claim is
                                  Not Plausible.

                   The Court should apply its analysis in Doe v. Brown University, 166 F.3d at 196, where

           it dismissed the plaintiff’s estoppel claim because the university-student relationship is

           contractual. JWU has acknowledged the legal existence of its contractual relationship with

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           Plaintiff and has not challenged his breach of contract claim at this pleading stage. Although a

           plaintiff may plead alternative causes of action, an alternative claim may not be implausible and

           legally futile. Plaintiff’s estoppel claim fails because he and JWU had a contractual relationship

           during his enrollment.

                          2.        Courts Have Routinely Denied Claims of Intentional Infliction of
                                    Emotional Distress Relating to Student Disciplinary Cases.

                   As JWU argues on pages 12-13 in its initial memorandum, courts have recognized the

           difficult and often vexing challenges facing universities in their investigation and adjudication of

           student-on-student sexual misconduct complaints, particularly in light of their obligations under

           Title IX to respond promptly and equitably to sexual assault or harassment complaints. Plaintiff’s

           opposition essentially makes a boilerplate claim that his emotional distress claim should survive

           because he was expelled from JWU. This is not the law, and such reasoning would subject a

           university to an intentional infliction of emotional distress claim in likely every sexual misconduct

           case resulting in an expulsion. See, e.g., Shank v. Carleton Coll., 232 F. Supp. 3d 1110, 1114 (D.

           Minn. 2017) (“[The College’s] conduct may have been inadequate or even ‘clearly unreasonable’

           for Title IX, but there is a big difference between conduct that is clearly unreasonable and conduct

           that is utterly intolerable in a civilized society. Civilized societies tolerate a lot of unreasonable

           conduct.”).

                          3.        Plaintiff’s Negligent Infliction of Emotional Distress Argument
                                    Misreads Rhode Island Law.

                   JWU’s initial memorandum relies upon the Court’s recent ruling in Doe. v. Brown

           University, C.A. No. 16-562-S, 2018 WL 443504, at * 5 (D.R.I. Jan. 16, 2018) (citing Perroti v.

           Gonicberg, 877 A.2d 631, 636 (R.I. 2005)), stating the limited group of plaintiffs who may pursue

           a claim for negligent infliction of emotional distress under Rhode Island law. “Only two groups



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           of plaintiffs are able . . . to seek recovery under a theory of negligent infliction of emotional

           distress: those within the ‘zone of danger’ who are physically endangered by the acts of a negligent

           defendant, and bystanders related to a victim whom they witness being injured.” Id. While

           conceding that he was not a bystander, Plaintiff’s memorandum jams “a square peg into a round

           hole” by claiming that he was somehow within “a zone of danger” during JWU’s investigative and

           adjudicatory processes. Plaintiff’s assertion is nonsensical and contorts the limited legal scope of

           recovery that Rhode Island allows for this type of negligence claim.

           III.    Conclusion

                   For reasons stated in its initial memorandum and this reply memorandum, JWU requests

           that the Court dismiss Counts III-VI of Plaintiff’s Complaint and Count VII as it relates to the

           claim for injunctive relief.


                                                         Defendant,
                                                         Johnson & Wales University,
                                                         By its Attorneys,

                                                           /s/ Steven M. Richard
                                                           /s/ Jeffrey S. Brenner
                                                         Steven M. Richard (4403)
                                                         Jeffrey S. Brenner (4359)
                                                         NIXON PEABODY LLP
                                                         One Citizens Plaza, 5th Floor
                                                         Providence, RI 02903
                                                         Tel: (401) 454-1020
                                                         Fax: (401) 454-1030
                                                         Email: srichard@nixonpeabody.com
Dated: April 17, 2018                                            jbrenner@nixonpeabody.com


                                          CERTIFICATE OF SERVICE

       I hereby certify that, on April 17, 2018, I served this memorandum upon Plaintiff’s
counsel electronically through the Court’s CM/ECF system

                                                    /s/ Steven M. Richard

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